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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

   UNITED STATES, et al.,

                       Plaintiffs,

         vs.
                                                        No. 1:23-cv-00108-LMB-JFA
   GOOGLE LLC,

                       Defendant.


    DEFENDANT GOOGLE LLC’S MOTION TO EXCLUDE THE TESTIMONY OF
                           ADORIA LIM

        PURSUANT TO Federal Rule of Evidence 702, and Federal Rules of Civil Procedure 26

 and 37, Defendant Google LLC (“Google”) moves the Court to exclude the testimony of Adoria

 Lim. The grounds and reasons for granting this motion are stated with particularity in the

 accompanying memorandum of law and exhibits to the Declaration of Bryon Becker in Support of

 Google’s Motion for Summary Judgment and Motions to Exclude.

        A proposed Order is submitted herewith.
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  Dated: April 26, 2024               Respectfully submitted,
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